                                                                     SO ORDERED.


                                                                     Dated: March 5, 2021




                                                                     Eddward P. Ballinger Jr., Bankruptcy Judge
                                                                     _________________________________




Dale Ulrich, Chapter 7 Trustee
1934 E Camelback Road, Ste 120-615
PHOENIX, AZ 85016
(602) 264-4124 / (fax)


                     IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF ARIZONA



In re:                                          )Chapter 7
                                                )          2:11-bk-07856-EPB
STUMP, PAUL                                                =======
                                                )Case No. 11-07856
                                                )
                                                ) ORDER FOR PAYMENT OF
                                                ) UNCLAIMED FUNDS TO THE
                Debtor(s).                      ) U.S. BANKRUPTCY COURT
                                                )

         Upon application of the Trustee and good cause appearing,
         IT IS ORDERED that the Trustee pay over the amount $3,453.91 to the Clerk of the
Court to pursuant to Bankruptcy Rule 3010, and §347 of the Code.

Date                                        EDDWARD P. BALLINGER JR.
                                            UNITED STATES BANKRUPTCY JUDGE




Case 2:11-bk-07856-EPB         Doc 40 Filed 03/05/21 Entered 03/05/21 10:45:01                  Desc
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